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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT


ALICE H. ALLEN, et al.,                             )
                                                    )
       Plaintiffs,                                  )
                                                    )
                v.                                  ) Civil Action No. 5:09–CV–00230–cr
                                                    )
DAIRY FARMERS OF AMERICA, INC., and                 )
DAIRY MARKETING SERVICES, LLC,                      )
                                                    )
       Defendants.                                  )

        UNOPPOSED MOTION FOR AN ORDER IDENTIFYING SUBCLASS
      EXCLUSIONS AND OPT-INS, DISMISSING THE CLASS ACTION CLAIMS
      AS TO DEFENDANTS, DIRECTING ENTRY OF FINAL JUDGMENT, AND
             APPROVING THE SETTLEMENT ALLOCATION PLAN

       Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure and consistent with the

terms of the finally-approved December 2015 Settlement Agreement, the Dairy Farmer

Subclasses, through the undersigned Subclass Counsel, respectfully request that the Court grant

the attached Proposed Order that, among other things, identifies the farmers who opted into or

out of the Subclasses as allowed by the Court, dismisses the claims of the Dairy Farmer Subclass

members against Defendants with prejudice and without payment of fees or costs, directs that

the final judgment of dismissal as to Defendants be entered forthwith, and approves the plan of

allocation set forth in the Memorandum in Support of the Motion for Final Approval of the

Settlement.

       In support of this Motion, the Subclasses show the following:

       1.       On November 19, 2011, the Court certified a class consisting of two Subclasses:

             a. All dairy farmers, whether individuals or entities, who produced and pooled raw
                Grade A milk in Order 1 during any time from January 1, 2002 to the present,
                who are members of DF A or otherwise sell milk through Dairy Marketing
                Services (“DFA/DMS Subclass”)
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              b. All dairy farmers, whether individuals or entities, who produced and pooled raw
                 Grade A milk in Order 1 during any time from January 1, 2002 to the present,
                 who are not members of DF A and do not otherwise sell milk through Dairy
                 Marketing Services (“non-DFA/DMS Subclass”).

Each Subclass excludes officers and directors of Defendants and alleged co-conspirators. See

Dkt. No. 435. The Court ordered that farmers, upon request, be excluded from the Subclasses.

See id. at 12 (“To the extent dairy farmers do not wish to participate in this lawsuit, they will not be

forced to do so.”) The deadline for requesting exclusion from the litigation was April 30, 2013.

See, e.g., Dkt. No. 440 at 6.

        2.       The Court approved the Subclasses’ plan for providing notice of class

certification on January 7, 2013. See Dkt. No. 441; see also Dkt. No. 439. Rust Consulting,

which assisted with the notice of certification plan, received and maintained mail received from

farmers. See Ex. B, 7/15/16 Potter Decl. at ¶ 3. In response to the notice, Rust received timely

letters from 936 farmers who requested to be excluded from the litigation. See id. at ¶ 4. The

names of the farmers who requested exclusion are listed in Exhibit B-1 and also are appended to

the Proposed Order for the purpose of recording those with rights with respect to the Settlement.

        3.       The Dairy Farmer Subclasses, through the undersigned Subclass Counsel, and

Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services, LLC (collectively

“Settling Defendants”) entered into a settlement agreement on December 22, 2015 (“December

2015 Settlement). See Dkt. No. 2076-2.

        4.       The Court entered an Order preliminarily approving the December 2015

Settlement on February 8, 2016. See Dkt. No. 718. This Order approved the plan, as modified

by the Court, for providing notice of the December 2015 Settlement. See id. at 5. This Order

permitted any member of a Subclass who did not previously opt out, but wished to be excluded

from the 2015 Settlement, to opt out by letter to the Claims Administrator postmarked by April

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22, 2016. See id. at 8-9. This Order also allowed any person who timely requested exclusion

from a Subclass to opt back in by letter to the Claims Administrator (Rust) postmarked by April

22, 2016. See id. at 9.

       5.       Rust, along with the Market Administrator for Federal Milk Marketing Order 1,

thereafter effectuated notice of the December 2015 Settlement according to the Court’s

instructions. As explained in the Declaration of Matthew Potter previously submitted to the

Court, the approved notice was mailed directly to 8,859 Order 1 farms by an independent vendor

selected by the Market Administrator. See Dkt. 2076-7 at ¶ 21. To supplement this directly-

mailed notice, notice also was published in four publications prominent in the dairy farming

community in the Northeast, and on the settlement website maintained by Rust. See id. at ¶ 6.

This notice program more than meets the standard under the law. See, e.g., Mullane v. Cent.

Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950) (notice must be “reasonably calculated,

under all the circumstances, to apprise interested parties of the pendency of the action and afford

them an opportunity to present their objections”).

       6.       Rust Consulting, which assisted with the notice of settlement, received and

maintained mail received from farmers. See Ex. B, 7/15/16 Potter Decl. at ¶ 3. In response to

the settlement notice, Rust received timely letters from 167 farmers requesting to be excluded

from the December 2015 Settlement. See id. at ¶ 5. The names of the farmers who requested

exclusion from the Settlement are listed in Exhibit B-2. Rust also received a timely letter from a

farmer who requested to opt back in, and this farmer is identified in Exhibit B-3. See id. at ¶ 6.

The names of farmers who opt out and opted in are appended to the Proposed Order.

       7.       Following a May 13, 2016 Fairness Hearing, the Court issued an Order on June 7,

2016 finding the December 2015 Settlement to be substantively fair, reasonable, and adequate



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under Fed. R. Civ. P. 23(e)(2) and granting final approval of the Settlement. See Dkt. No. 2093

at 11-12.

       8.       Having finally approved the December 2015 Settlement, the Subclasses seek

entry of an Order consistent with the terms of the Settlement. It requires the Subclasses to seek

an Order that, among other things:

             a. Determines that the notice of settlement to the Subclasses constituted due and
                sufficient notice for all other purposes to all Persons entitled to receive notice

             b. Bars and enjoins institution, commencement, or prosecution, by any of the
                Releasing Parties, of any action asserting any Released Claim against the
                Released Parties

             c. Provides that any Subclass Member who fails to object in accordance with the
                Court’s procedures be deemed to have waived any objections to the Settlement or
                the Agreement

             d. Excludes from the Subclasses any Person who timely requested exclusion

             e. Provides that any Person who timely requested to opt back into the Subclasses
                shall be reinstated to the Subclasses, as if they had not been excluded, for purpose
                of participating in the Settlement

See Dkt. No. 2076-2 at § 4.2.

       9.       Also, with final approval of the December 2015 Settlement, the Subclasses seek

dismissal with prejudice of the Subclass member claims against Defendants which are released

by the Settlement and entry of final judgment as to Defendants. The terms of the December

2015 Settlement require a request for dismissal of the Action with prejudice and without

payment of fees or costs by the Settling Defendants and entry of a final judgment. See Dkt. No.

2076-2 at ¶ 4.1. The requested dismissal and entry of judgment also may avoid delay in the

resolution of the appeal of final approval. See, e.g., Fed. R. Civ. App. P. 4(a)(2).

       10.      In addition, the Subclasses seek approval of the plan of allocation of the

settlement proceeds that was set forth in the Memorandum in Support of the Motion for Final

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Approval of the Settlement. See Dkt. No. 2076-1 at 47-48. It proposed distributing settlement

funds to eligible Subclass members on a pro rata basis, determined by dividing (a) the dollar

value of the claimant’s total amount of raw Grade A milk produced and pooled in Order 1 from

January 1, 2002 to December 31, 2014 by (b) the total dollar value of all claims made by all

Subclass members of that Class.         The Court approved the same pro rata distribution in

connection with the Dean Foods settlement. See 8/15/11 Order at ¶ 13, Dkt. No. 345. This

distribution meets the standard under the law because it is inherently fair and reasonably to

distribute funds to eligible class members in direct proportion to their eligible sales of milk at

issue in the litigation. See, e.g., In re Top Tankers, Inc. Sec. Litig., 2008 U.S. Dist. LEXIS

58106, at *34 (S.D.N.Y. July 31, 2008) (explaining the standard for approval of a plan of

allocation is “fair and adequate.”); In re Lloyd’s Am. Tr. Fund Litig., 2002 U.S. Dist. LEXIS

22663, at *53 (S.D.N.Y. Nov. 26, 2002) (“pro rata allocations…are not only reasonable and

rational, but appear to be the fairest method of allocating the settlement benefits.”).1

       11.     Counsel for the Subclasses conferred with Counsel for Defendants and confirmed

they do not oppose this Motion.

       THEREFORE, for the foregoing reasons, the Subclasses respectfully request that the

Court enter the Proposed Order attached as Exhibit A.

Dated August 1, 2016




1
  The Subclasses note that, per the December 2015 Settlement, distribution of the monetary
payment by Defendants cannot occur until after the expiration of the time for appeal of the final
approval has passed or the approval is affirmed on appeal and such affirmance has become no
longer subject to further appeal or review. See Dkt. No. 2076-2 at ¶¶ 5.1 and 8.4. The
Subclasses seek approval of the allocation plan now, however, so that funds can be distributed
after appeals without additional delay.
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                                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on the 1st day of August, 2016, a true and correct copy of the foregoing

UNOPPOSED MOTION FOR AN ORDER IDENTIFYING SUBCLASS EXCLUSIONS

AND OPT-INS, DISMISSING THE CLASS ACTION CLAIMS AS TO DEFENDANTS,

DIRECTING ENTRY OF FINAL JUDGMENT, AND APPROVING THE SETTLEMENT

ALLOCATION PLAN was served by operation of the electronic filing system of the U.S.

District Court for the District of Vermont upon all counsel who have consented to receive notice

of filings in the matters styled Allen, et al. v. Dairy Farmers of America, et al., Case No. 5:09-

cv-00230-cr.


                                                 /s/ Robert G. Abrams
                                                     Robert G. Abrams




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